
722 S.E.2d 595 (2012)
STATE of North Carolina
v.
Joshua Newton CLARK.
No. 209P11.
Supreme Court of North Carolina.
March 8, 2012.
David W. Andrews, Assistant Appellate Defender, for Clark, Joshua Newton.
Joseph Finarelli, Assistant Attorney General, for State of N.C.

ORDER
Upon consideration of the petition filed on the 26th of May 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of March 2012."
